                                                                                          FILED
                                                                               UNITED STATES DISTRICT COURT
                                                                                    DENVER, COLORADO
                            IN THE UNITED STATES DISTRICT COURT                         5/3/20
                                FOR THE DISTRICT OF COLORADO                     JEFFREY P. COLWELL, CLERK


Criminal Case No. 20-mj-00054-NYW

UNITED STATES OF AMERICA,

               Plaintiff,
v.

1. BRADLEY BUNN,

               Defendant.


     GOVERNMENT’S MOTION TO RESTRICT COMPLAINT AND COMPLAINT
        AFFIDAVIT AND UNRESTRICT A REDACTED VERSION OF THE
                COMPLAINT AND COMPLAINT AFFIDAVIT


       The United States of America, by undersigned counsel, respectfully moves the Court to

restrict the Complaint and Complaint Affidavit and the Brief filed in support of this motion, for

the reasons stated in the brief filed in support of this motion. The United States requests a

“Level 2” Restriction which would make the Complaint and Complaint Affidavit and the Brief

filed in support of this motion, “viewable by the filing party and the court” only.

       The United States also asks the Court to unrestrict a redacted form of the Complaint and

Complaint Affidavit, along with the Arrest Warrant, for the reasons stated in the Brief filed in

support of this motion. A copy of the redacted documents that the government seeks to

unrestrict are attached to this motion.

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Dated this 3rd day of May, 2020.

                                   JASON R. DUNN
                                   United States Attorney

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